      Case 2:09-cr-00090-WHA-CSC Document 258 Filed 03/15/10 Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF ALABAMA
                                  NORTHERN DIVISION


UNITED STATES OF AMERICA                          )
                                                  )
vs.                                               )   CR. NO. 2:09cr090-WHA
                                                  )
KRISTI ROSHUN MCKEITHEN,                          )
BETTY ANN LEWIS SMOKE, and                        )
LEE EARNEST BENSON                                )


                                              ORDER

       This case is before the court on the Joint Motion to Continue Trial (Doc. #255), filed on

March 11, 2010.

       For the reasons that additional time is needed for plea discussions, for the arrest of a new

defendant, for the possibility of a second superseding indictment, and to adequately investigate

new allegations and prepare for trial, the court finds that the ends of justice to be served by

granting a continuance outweigh the rights of the Defendants and the public to a speedy trial.

Therefore, the motion is GRANTED, and it is hereby

       ORDERED that trial of this case is CONTINUED from the term of court commencing

March 22, 2010, and RESET for the term of court commencing June 7, 2010.

       DONE this 15th day March, 2010.



                                              /s/ W. Harold Albritton
                                              W. HAROLD ALBRITTON
                                              SENIOR UNITED STATES DISTRICT JUDGE
